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                                                               Hogan Lovells US LLP
                                                               875 Third Avenue
                                                               New York, NY 10022
                                                               T +1 212 918 3000
                                                               F +1 212 918 3100
                                                               www.hoganlovells.com




March 22, 2019

VIA ECF

Judge Robert D. Drain
United States District Court for the Southern District of New York
300 Quarropas St.
White Plains, NY 10601-4150

Re:     In re: Lifschultz Estate Management LLC
        Bankr. S.D.N.Y. Docket No. 7:16-BK-23144-rdd

Dear Judge Drain:

This firm represents secured creditor U.S. Bank as Trustee for LSF9 Master Participation Trust (the
“Trust”) in the above-referenced matter. We write in regard to the motion of Lawrence Lifschultz (“L.
Lifschultz”) to vacate this Court’s order dated February 5, 2018 on the basis of fraud and lack of
subject matter jurisdiction, and for a Fed. R. Bankr. 2004 examination (ECF No. 94) (the “Motion”),
which is currently scheduled for hearing on March 29, 2019 at 10:00 a.m.

We write to advise the Court that L. Lifschultz has agreed to withdraw the Motion (without prejudice).
On March 20, 2019, L. Lifschultz’s newly retained counsel – who has not formally appeared in this
action and did not represent L. Lifschultz when he made the Motion – represented during a
telephone conversation that L. Lifschultz has agreed to withdraw the Motion, and on March 21, 2019,
he confirmed the same via e-mail.

Relying on these representations, the Trust will not be filing opposition to the Motion (which is due
on March 22, 2019). Furthermore, in light of L. Lifschultz’s withdrawal of the Motion, we respectfully
request that the Motion be removed from the Court’s calendar.

Respectfully yours,

/s/ Robin L. Muir

Robin L. Muir
Senior Associate
robin.muir@hoganlovells.com
D +1 212 918 3264

cc:    Lawrence Lifschultz
       Creditor/Movant
       via e-mail to lawrence.lifschultz@gmail.com and rmilin@grifflegal.com

       DelBello Donnellan Weingarten Wise & Wiederkehr, LLP
       Counsel for Debtor Lifschultz Estate Management LLC
       via ECF
